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                           EXHIBIT A
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                          THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OKLAHOMA

    (1) UNITED STATES OF AMERICA           )
                                           )
                     Plaintiff             )
                                           )
                                           )              Case No. 14-CV-704-GKF-JFJ
                                           )
                     Intervenor-Plaintiff, )
                                           )
          v.                               )
                                           )
    (1) OSAGE WIND, LLC:                   )
    (2) ENEL KANDAS, LLC; and              )
    (3) ENEL GREEN POWER                   )
        NORTH AMERICA, INC.,               )
                                           )
                     Defendants.           )

     OSAGE MINERALS COUNCIL’S REPONSES AND OBJECTIONS TO OSAGE WIND,
        LLC’S SECOND INTERROGATORIES AND REQUESTS FOR PRODUCTION

            Intervenor-Plaintiff Osage Minerals Council (the “OMC”), by and through its counsel of

    record, hereby submits these Responses and Objections to Osage Wind, LLC’s Second

    Interrogatories and Requests for Production (the “Requests”). These Responses reflect

    Intervenor-Plaintiff’s diligent, good-faith efforts to consider and investigate the Interrogatories

    and Requests and to respond within the permitted time. Intervenor-Plaintiff acknowledges its

    obligation to amend or supplement its Responses as new or additional information becomes

    available. Intervenor-Plaintiff also reserves the right to correct, modify, or supplement any or all

    of the Responses, as it deems necessary or appropriate.

                                          Reservation of Rights

           Any production of documents by Intervenor-Plaintiff in response to the Requests is

    subject to Intervenor-Plaintiff’s right to object to the admission into evidence of any and all such

    documents on the grounds that they, or any of them, are irrelevant to the issues in this action or
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    are otherwise inadmissible. Inadvertent production of any document or information which is

    privileged, was prepared in anticipation of litigation, or is otherwise immune from discovery shall

    not constitute a waiver of any privilege or of any other ground for objecting to discovery with

    respect to that document or any other document, the subject matter thereof, or the information

    contained therein, or of the Intervenor-Plaintiff’s rights to object to the use of any such document

    or the information contained therein during any proceeding in this litigation or otherwise. These

    Responses are based on Intervenor-Plaintiff’s present knowledge, information, belief, and

    Intervenor-Plaintiff’s review of files which would be likely to contain the documents called for

    by the Requests, and therefore are subject to amendment as Intervenor-Plaintiff continues to

    complete the Intervenor-Plaintiff’s review and analysis.

                                           General Objections

            1.     Intervenor-Plaintiff objects to these Interrogatories and Requests to the extent

    they seek information which is protected from disclosure under the attorney-client privilege or

    work product immunity, or any similarly recognized civil discovery privilege.

            2.     Intervenor-Plaintiff objects to Interrogatories and Requests seeking the production

    of “all” documents or the like to the extent that such requests are unduly broad and burdensome.

    Unless otherwise indicated, Intervenor-Plaintiff will produce relevant responsive documents

    located through a comprehensive search of its records.

           3.      Intervenor-Plaintiff objects to these Interrogatories and Requests to the extent the

    information sought has previously been provided.

            4.     Intervenor-Plaintiff objects to these Interrogatories and Requests to the extent that

    they seek information which is neither relevant to the issues raised in this lawsuit nor reasonably

    calculated to lead to the discovery of admissible evidence.
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            5.     To the extent Osage Wind, LLC’s Requests seek information that Intervenor-

    Plaintiff considers to be confidential or proprietary, including trade secrets or other confidential

    research, development or commercial information, responses will be provided as warranted under

    the terms of the Protective Order in this action.

            6.     Intervenor-Plaintiff’s Response to an Interrogatory or Request should not be

    construed as a representation or admission that such Response is admissible at trial, and

    Intervenor-Plaintiff does not waive, and hereby expressly reserves, its right to assert any and all

    objections to the admission into evidence of these Responses and the documents produced

    therewith.

            7.     Intervenor-Plaintiff objects to these Interrogatories and Requests to the extent that

    they seek information which the Court has concluded Defendants are not entitled to seek—either

    because it is irrelevant or relates to an affirmative defense that is not available to Defendants under

    the law of the case and the Court’s Orders. See, e.g., ECF Nos. 207, 210, 226.

            8.     Intervenor-Plaintiff incorporates the General Objections into each and every

    Response herein. Any further, more specific objection asserted within a particular Response is

    made in addition to and without waiving any General Objection.

                                   Responses to Interrogatories

    Interrogatory No. 16: Identify all instances since 2010 in which You asserted in formal

    litigation or in correspondence that a Person had extracted or used limestone or other hard

    minerals in Osage County without the proper lease or permit authorizing such extraction or use.

    Response to Interrogatory No. 16: The OMC objects to this Interrogatory on the grounds that

    it is overly broad as it seeks information that is not relevant to any party’s claim or defense and

    that it seeks privileged information. The OMC further objects to this Interrogatory as vague and
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    ambiguous in its use of the term “Person,” which Osage Wind has not defined in its Requests,

    and overbroad and unduly burdensome with respect to the defined term “You,” which purports to

    include all of the following: “current or former officers, agents, employees, attorneys,

    subsidiaries, divisions, affiliates, committees, boards, or other related business entities, and each

    partnership, limited liability company, joint venture, corporation or other entity to which [the

    OMC] is a party, as well as the present and former directors, officers, members, partners, agents,

    contractors, consultants, and employees of such entities, and representatives of all of the

    foregoing, and any other person acting or purporting to act on behalf of any of the foregoing,

    and, where the context permits, [the OMC’s] counsel and any consultants, experts, investigators,

    agents, attorneys, or other persons acting on [the OMC’s] behalf.”

           Finally, the OMC objects to this Interrogatory as vexatious, harassing, and overly

    burdensome to the extent it seeks to relitigate the merits of this case. See United States v. Osage

    Wind, LLC, 871 F.3d 1078, 1092 (10th Cir. 2017) (requiring Defendants “to secure a federally

    approved lease from OMC under § 214.7”). The OMC further objects to and does not answer

    Interrogatory No. 16 on the grounds that it is specifically barred by the Court’s Opinions and

    Orders of January 11, 2021 (Dkt. 207), January 16, 2021 (Dkt. 210) and May 21, 2021 (Dkt.

    226). The Tenth Circuit has concluded that Defendants mined the Osage Mineral Estate without

    the requisite permit required under federal law, and Interrogatory No. 16 in no way seeks

    information relevant to this Court’s adjudication of the proper remedy for Defendants’ unlawful

    conduct.

    Interrogatory No. 17: Identify the amount of royalty income You have received pursuant to

    leases issued pursuant to 25 C.F.R. Part 214 and/or “Sandy Soil Permits” from November 24,

    2014 to the date of Your response to this Interrogatory.
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    Response to Interrogatory No. 17: The OMC objects to this Interrogatory on the grounds it is

    overly broad, unduly burdensome, and duplicative of information already sought from the OMC.

    Among other deficiencies, this Interrogatory misconstrues the relationship between the OMC as

    the representative body of the Osage Nation as trust beneficiary of the Osage Mineral Estate, the

    United States as trustee of the Osage Mineral Estate and proceeds derived from the Osage

    Mineral Estate, and the headright holders (Osage and non-Osage) that own rights to receive

    quarterly distributions from the United States of minerals proceeds from various sources. The

    OMC receives up to $1 million annually for its administrative expenses from the federal trust

    account established for the trust beneficiary. As a result of this Osage trust system, all payments

    from Osage minerals production in accordance with 25 C.F.R. Part 214 are made to the United

    States and not the OMC. As a result and in combination with the definition of “You,” the plain

    language of this Interrogatory requests that the OMC obtain royalty information from “current

    or former officers, agents, employees, attorneys, subsidiaries, divisions, affiliates,

    committees, boards, or other related business entities, and each partnership, limited liability

    company, joint venture, corporation or other entity to which [the OMC] is a party, as well as the

    present and former directors, officers, members, partners, agents, contractors, consultants, and

    employees of such entities, and representatives of all of the foregoing, and any other person

    acting or purporting to act on behalf of any of the foregoing, and, where the context permits, [the

    OMC’s] counsel and any consultants, experts, investigators, agents, attorneys, or other persons

    acting on [the OMC’s] behalf” who may be an OMC shareholder.

           The OMC further objects to this Interrogatory to the extent that it is duplicative of prior

    interrogatories and requests for production. Without waiving the foregoing objections or the

    General Objections listed above, the OMC refers Defendants to its responses to Enel Green
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    Power North America, Inc.’s Interrogatory No. 12 and Request for Production No. 12. The OMC

    further refers Defendants to responsive documents related to Part 214 permits or leases identified

    and produced through Plaintiff United States of America’s Supplemental Responses to

    Defendant, Osage Wind, LLC’s First Set of Interrogatories and Requests for Production at

    Interrogatory No. 8, Request Nos. 7 & 8.

    Interrogatory No. 18: Identify the amount of royalty income You have received pursuant to

    leases for oil and/or gas exploration and production from November 24, 2014 to the date of Your

    response to this Interrogatory.

    Response to Interrogatory No. 18: The OMC objects to this Interrogatory on the grounds that it

    is overly broad and unduly burdensome. Among other deficiencies, this Interrogatory

    misconstrues the relationship between the OMC as the representative body of the Osage Nation

    as trust beneficiary of the Osage Mineral Estate, the United States as trustee of the Osage

    Mineral Estate and proceeds derived from the Osage Mineral Estate, and the headright holders

    (Osage and non-Osage) that own rights to receive quarterly distributions from the United States

    of minerals proceeds from various sources. The OMC receives up to $1 million annually for its

    administrative expenses from the federal trust account established for the trust beneficiary. As a

    result of this Osage trust system, all payments from Osage minerals production in accordance

    with 25 C.F.R. Part 214 are made to the United States and not the OMC. As a result and in

    combination with the definition of “You,” the plan language of this Interrogatory requests that

    the OMC obtain royalty information from each “current or former officers, agents,

    employees, attorneys, subsidiaries, divisions, affiliates, committees, boards, or other related

    business entities, and each partnership, limited liability company, joint venture, corporation or

    other entity to which [the OMC] is a party, as well as the present and former directors, officers,
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    members, partners, agents, contractors, consultants, and employees of such entities, and

    representatives of all of the foregoing, and any other person acting or purporting to act on behalf

    of any of the foregoing, and, where the context permits, [the OMC’s] counsel and any

    consultants, experts, investigators, agents, attorneys, or other persons acting on [the OMC’s]

    behalf” who may be OMC shareholders.

    Interrogatory No. 19: Identify the amount of royalty income, from any source, You claim the

    presence of the Project prevented you from receiving from 2014 to the present.

    Response to Interrogatory No. 19: The OMC objects to this Interrogatory on the grounds that

    that it is overly broad, unduly burdensome, and unlikely to lead to the discovery of admissible

    evidence. Among other deficiencies, this Interrogatory misconstrues the relationship between the

    OMC as the representative body of the Osage Nation as trust beneficiary of the Osage Mineral

    Estate, the United States as trustee of the Osage Mineral Estate and proceeds derived from the

    Osage Mineral Estate, and the headright holders (Osage and non-Osage) that own rights to

    receive quarterly distributions from the United States of minerals proceeds from various sources.

    The OMC receives up to $1 million annually for its administrative expenses from the federal

    trust account established for the trust beneficiary. As a result of this Osage trust system, all

    payments from Osage minerals production in accordance with 25 C.F.R. Part 214 are made to the

    United States and not the OMC. As a result and in combination with the definition of “You,” the

    plain language of this Interrogatory requests that the OMC obtain information from each “current

    or former officers, agents, employees, attorneys, subsidiaries, divisions, affiliates,

    committees, boards, or other related business entities, and each partnership, limited liability

    company, joint venture, corporation or other entity to which [the OMC] is a party, as well as the

    present and former directors, officers, members, partners, agents, contractors, consultants, and
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    employees of such entities, and representatives of all of the foregoing, and any other person

    acting or purporting to act on behalf of any of the foregoing, and, where the context permits, [the

    OMC’s] counsel and any consultants, experts, investigators, agents, attorneys, or other persons

    acting on [the OMC’s] behalf” who may be OMC shareholders.

           The OMC declines to produce attorney-work product regarding damages, remedies or

    equitable relief, to the extent the Interrogatory seeks such information. Finally, as Defendants are

    aware, it is Defendants’ own conduct (mining the Osage Mineral Estate without obtaining a lease

    from the OMC that is approved by the United States) that inhibits a fair calculation of royalties

    and revenues lost since 2014. To the extent the Interrogatory requests attorney work-product or

    imposes a duty to reveal litigative strategy or brief subjects before dispositive briefs are yet due,

    the Interrogatory is improper.

    Interrogatory No. 20: Identify all proposed mineral leases under 25 C.F.R. Part 214 the OMC

    has approved the lease terms defining compensation for the OMC were not based on the value or

    volume of minerals mined and sold.

    Response to Interrogatory No. 20: The OMC objects to this Interrogatory on the grounds that it

    is incomprehensible, vague, and not likely to lead to the discovery of admissible evidence in this

    litigation. Similarly, to the extent this Interrogatory intends to request information regarding

    “approved” mineral leases, the OMC objects on the grounds that the interrogatory is duplicative

    of information already sought from the OMC and overly broad, unduly burdensome, and

    unlikely to lead to evidence relevant to a party’s claims or defenses because it is not limited in

    time. Finally, the OMC notes that Defendants have lost their argument that their excavation and

    use of minerals from the Osage Mineral Estate did not constitute mining under the law simply

    because they never sold them. The Tenth Circuit rejected this argument. See United States v.
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   Osage Wind, LLC, 871 F.3d 1078, 1089 (10th Cir. 2017) (“While the definition of mining

   certainly includes commercial mineral extractions and even offsite relocation of minerals, the

   district court's limitation of “mineral development” to those contexts is overly restrictive. The

   text of § 211.3 does not indicate that mining is confined to commercializing extracted minerals

   or relocating them offsite—instead it refers merely to the “science, technique, and business of

   mineral development.” § 211.3. Finding no support in the § 211.3’s text itself, Osage Wind

   attempts to buttress its preferred narrowing construction by reference to other provisions that

   contemplate the sale of minerals. We are not persuaded.”). The OMC will not entertain the idea

   of re-litigating this losing argument in the form of an Interrogatory.

          Without waiving the foregoing objections and while incorporating the General Objections

   identified above, the OMC refers Defendants to its Responses to Enel Green Power North

   America, Inc.’s Interrogatory Nos. 13-15 and Request for Production Nos. 13-15.

   Interrogatory No. 21: Identify all proposed or approved mineral leases under 25 C.F.R. Part

   214 when the mineral lease contained terms defining compensation for the OMC identical or

   substantially similar to the compensation terms of any surface leases issued to the same lease

   applicant for the same geographic area.

   Response to Interrogatory No. 21: The OMC objects to this Interrogatory on the grounds the

   request is overly broad, unduly burdensome, and unlikely to lead to evidence relevant to any

   party’s claim or defense. To the extent Osage Wind seeks information regarding surface leases,

   the OMC has no responsive information within its possession.

          To the extent Osage Wind requests information regarding approved mineral leases for the

   Osage Mineral Estate, and without waiving the foregoing objections or the General Objections
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   identified above, the OMC refers Defendants to its Responses to Enel Green Power North

   America, Inc.’s Interrogatory Nos. 13-15 and Request for Production Nos. 13-15.

   Interrogatory No. 22: Identify all communications whether oral or via any document between

   the United States Attorney’s Office for the Northern District of Oklahoma and/or the Bureau of

   Indian Affairs and the Osage Nation, on the one hand, and the OMC, on the other, between

   September 30, 2015 and November 30, 2015 regarding the decision by plaintiff the United States

   not to appeal the Opinion and Order and Judgment entered September 30, 2015 (Dkt. # 44 and

   45).

   Response to Interrogatory No. 22: The OMC objects to this Interrogatory on the grounds that

   it seeks information protected by the common interest privilege and the executive privilege under

   Osage Nation law, and duplicative of information already sought from the OMC. The OMC

   further objects to this Interrogatory because it seeks information which the Court has concluded

   Defendants are not entitled to seek—either because it is irrelevant or because it relates to an

   affirmative defense that is not available to Defendants under the law of the case and the Court’s

   Orders. See, e.g., ECF Nos. 207, 210, 226.

          Without waiving its objections above, the OMC refers Defendants to its Responses to

   Defendants’ Interrogatory Nos. 5, 6, 7, and Request Nos. 1, 2, 4, 14 and Enel Green Power North

   America, Inc.’s Interrogatory No. 23 Request for Production No. 23.

   Interrogatory No. 23: Identify all mineral leases issued by the OMC under 25 C.F.R. Part 214

   when the mineral lease contained terms in which the lease required “as built” drawings or

   specifications for any work performed in removal of minerals under the lease.

   Response to Interrogatory No. 23: The OMC objects to this Interrogatory on the grounds that it

   is overly broad and unduly burdensome to the extent it is not limited in time, and unlikely to lead
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   to the discovery of relevant evidence admissible at trial. Among other deficiencies, this

   Interrogatory misconstrues the relationship between the OMC as the representative body of the

   Osage Nation as trust beneficiary of the Osage Mineral Estate, the United States as trustee of the

   Osage Mineral Estate and proceeds derived from the Osage Mineral Estate, and the headright

   holders (Osage and non-Osage) that own rights to receive quarterly distributions from the United

   States of minerals proceeds from various sources. The OMC receives up to $1 million annually

   for its administrative expenses from the federal trust account established for the trust beneficiary.

   As a result of this Osage trust system, all payments from Osage minerals production in

   accordance with 25 C.F.R. Part 214 are made to the United States and not the OMC. The OMC

   further objects that “as built” is an undefined term subject to many interpretations and meanings.

   Interrogatory No. 24: Identify, including by bates numbers if already produced, all leases under

   25 C.F.R. Part 214 for excavation related to a road or building construction project, from 2011 to

   the present, in which minerals excavated were not sold or moved to locations other than the site

   of the original excavation.

   Response to Interrogatory No. 24: The OMC objects to this Interrogatory on the grounds that it

   is unlikely to lead to the discovery of evidence relevant to a party’s claims or defenses because it

   seeks information related to claims already argued before and decided by the Tenth Circuit. See

   United States v. Osage Wind, LLC, 871 F.3d 1078, 1089 (10th Cir. 2017) (“While the definition

   of mining certainly includes commercial mineral extractions and even offsite relocation of

   minerals, the district court’s limitation of “mineral development” to those contexts is overly

   restrictive. The text of § 211.3 does not indicate that mining is confined to commercializing

   extracted minerals or relocating them offsite—instead it refers merely to the “science, technique,

   and business of mineral development.” § 211.3. Finding no support in the § 211.3’s text itself,
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   Osage Wind attempts to buttress its preferred narrowing construction by reference to other

   provisions that contemplate the sale of minerals. We are not persuaded.”). The OMC will not

   entertain the idea of re-litigating this argument in the form of an Interrogatory.

   Interrogatory No. 25: Identify any costs or non-monetary hardships known or anticipated to be

   incurred or sustained by you if a permanent injunction, including the remedy of ejectment, is not

   issued against Defendants in this litigation, including any costs or non-monetary hardships you

   may present to the Court in its duty to balance the equities between the parties.

   Response to Interrogatory No. 25: The OMC objects to this Interrogatory on the grounds that it

   is overly broad, vague, and premature as discovery remains ongoing and depositions have not yet

   been completed. Without waiving the foregoing objections or the General Objections identified

   above, the OMC responds that harm caused by Defendants’ infringement on the inherent

   sovereignty of the Osage Nation, and by extension the Osage Minerals Council, cannot be

   quantified in monetary terms. Defendants’ unlawful conduct and blatant refusal to respect the

   authority of the Osage Nation threatens the inherent right of the Osage Nation to govern its trust

   assets and lands for the welfare of the Osage Nation citizens, as well as the Osage Mineral Estate

   headright holders. So long as Defendants are permitted to continue their unlawful trespass on the

   Osage Mineral Estate, the Osage Nation’s sovereignty will continue to be irreparably harmed.

   Furthermore, the OMC cannot lease the lands covered by the footprint of the wind farm for

   minerals purposes because the wind energy facilities interfere with effective minerals exploration

   and mining.

                                Responses to Requests for Production

   Request for Production No. 28: Produce all documents referred to, relied upon, or which

   evidence demands made as referred to in Your response to Interrogatory No. 16 served herewith.
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   Response to Request for Production No. 28: The OMC refers Osage Wind to the OMC’s

   Response to Interrogatory No. 16.

   Request for Production No. 29: Produce all documents referred to, relied upon, or which

   evidence demands made as referred to in Your response to Interrogatory No. 17 served herewith.

   Response to Request for Production No. 29: The OMC refers Osage Wind to the OMC’s

   Response to Interrogatory No. 17.

   Request for Production No. 30: Produce all documents referred to, relied upon, or which

   evidence the amounts set forth in Your response to Interrogatory No. 18 served herewith.

   Response to Request for Production No. 30: The OMC refers Osage Wind to the OMC’s

   Response to Interrogatory No. 18.

   Request for Production No. 31: Produce all documents referred to, relied upon, or which

   evidence the amounts set forth in Your response to Interrogatory No. 19 served herewith.

   Response to Request for Production No. 31: The OMC refers Osage Wind to the OMC’s

   Response to Interrogatory No. 19.

   Request for Production No. 32: Produce all documents referred to, relied upon, or which

   evidence the amounts set forth in Your response to Interrogatory No. 20 served herewith.

   Response to Request for Production No. 32: The OMC refers Osage Wind to the OMC’s

   Response to Interrogatory No. 20.

   Request for Production No. 33: Produce all documents referred to, relied upon, or which

   evidence the amounts set forth in Your response to Interrogatory No. 21 served herewith.

   Response to Request for Production No. 33: The OMC refers Osage Wind to the OMC’s

   Response to Interrogatory No. 21.
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   Request for Production No. 34: Produce all documents referred to, relied upon, or which

   evidence the amounts set forth in Your response to Interrogatory No. 22 served herewith.

   Response to Request for Production No. 34: The OMC refers Osage Wind to the OMC’s

   Response to Interrogatory No. 22.

   Request for Production No. 35: Produce all documents referred to, relied upon, or which

   evidence the amounts set forth in Your response to Interrogatory No. 23 served herewith.

   Response to Request for Production No. 35: The OMC refers Osage Wind to the OMC’s

   Response to Interrogatory No. 23.

   Request for Production No. 36: Produce all documents referred to, relied upon, or which

   evidence the amounts set forth in Your response to Interrogatory No. 24 served herewith.

   Response to Request for Production No. 36: The OMC refers Osage Wind to the OMC’s

   Response to Interrogatory No. 24.

   Request for Production No. 37: Produce all documents referred to, relied upon, or which

   evidence the amounts set forth in Your response to Interrogatory No. 25 served herewith.

   Response to Request for Production No. 37: The OMC refers Osage Wind to the OMC’s

   Response to Interrogatory No. 25.

   Request for Production No. 38: Produce, or identify by bates numbers if already produced, all

   documents identified as an exhibit by any party or produced in discovery by any party that You

   believe tend to establish Defendants, or any of them or any individual acting on behalf of any

   Defendant, acted in bad faith by conducting excavation, crushing, and reuse of the subsurface in

   the construction of the Project.

   Response to Request for Production No. 38: The OMC objects to this Request for Production on

   the grounds that it requests information that is protected by the attorney work-product privilege

   and/or attorney-client privilege. Such documents are readily available and there is no requirement
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   that the OMC’s counsel provide Osage Wind with counsel’s analysis of Defendants’ documents.

   Furthermore, discovery is ongoing, and Defendants have refused to make available for depositions

   key individuals who have knowledge of Defendants’ bad faith conduct.

   Request for Production No. 39: Produce, or identify by bates numbers if already produced, all

   applications for any type of lease or permit from the Osage Minerals Council that you were

   required to deny based on the existence of the Project, from 2011 to the present.

   Response to Request for Production No. 39: The OMC objects to this Request as vague and

   unlikely to lead to the discovery of relevant or admissible evidence at trial. Specifically, the

   phrase “you were required to deny based on the existence of the Project” is incomprehensible as

   drafted as it seems to be contingent upon other information unknown to the OMC, as it would be

   forced to guess at what the drafters intended.

   Request for Production No. 40: Produce, or identify by bates numbers if already produced, all

   inquiries, correspondence, requests, or applications you have received for a lease under 25

   C.F.R. Part 214 for a wind, solar, battery, or other renewable energy project, from September 18,

   2017 to the present.

   Response to Request for Production No. 40: The OMC objects to this Request as overbroad

   and unduly burdensome with respect to the defined term “You,” which purports to include all of

   the following: “current or former officers, agents, employees, attorneys, subsidiaries,

   divisions, affiliates, committees, boards, or other related business entities, and each partnership,

   limited liability company, joint venture, corporation or other entity to which [the OMC] is a

   party, as well as the present and former directors, officers, members, partners, agents,

   contractors, consultants, and employees of such entities, and representatives of all of the

   foregoing, and any other person acting or purporting to act on behalf of any of the foregoing,

   and, where the context permits, [the OMC’s] counsel and any consultants, experts, investigators,
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   agents, attorneys, or other persons acting on [the OMC’s] behalf.” The OMC further objects that

   this Request is overly broad and burdensome, as well as borderline vexatious, since it is not

   tethered to any relevant inquiry in the current litigation.

   Request for Production No. 41: Produce, or identify by bates numbers if already produced, all

   inquiries, correspondence, requests, or applications you have received for a lease under 25

   C.F.R. Part 214 for excavation related to a road or building construction project, from 2011 to

   the present.

   Response to Request for Production No. 41: The OMC objects to this Request as overbroad

   and unduly burdensome with respect to the defined term “You,” which purports to include all of

   the following: “current or former officers, agents, employees, attorneys, subsidiaries,

   divisions, affiliates, committees, boards, or other related business entities, and each partnership,

   limited liability company, joint venture, corporation or other entity to which [the OMC] is a

   party, as well as the present and former directors, officers, members, partners, agents,

   contractors, consultants, and employees of such entities, and representatives of all of the

   foregoing, and any other person acting or purporting to act on behalf of any of the foregoing,

   and, where the context permits, [the OMC’s] counsel and any consultants, experts, investigators,

   agents, attorneys, or other persons acting on [the OMC’s] behalf.” Furthermore, “construction

   projects” are not at issue in this litigation. The Tenth Circuit did not conclude that all

   construction projects trigger 25 C.F.R. Part 214; but rather, the Tenth Circuit concluded that the

   fact that Defendants were using the minerals they took from the Osage Mineral Estate to stabilize

   the foundations for their turbines triggered 25 C.F.R. Part 214. As such, documents related to

   “construction projects” writ large have no bearing on the Court’s adjudication of the proper

   remedy in this matter.
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          Without waiving the foregoing objections or the General Objections identified above, and

   to the extent the Request appears to be seeking approved leases under 25 C.F.R. § 214, the OMC

   refers Osage Wind to Plaintiff United States of America’s Supplemental Responses to

   Defendant, Osage Wind, LLC’s First Set of Interrogatories and Requests for Production at

   Interrogatory No. 8, Request Nos. 7 & 8 and produces the following:

   OMC-000776-782
   OMC-000787-794
   OMC-000796-800
   OMC-000806-807
   OMC-000808-810
   OMC-000811-815
   OMC-000816-819
   OMC-000820-821
   OMC-000822-824
   OMC-000825-830
   OMC-000831-836
   OMC-000837
   OMC-000838

   Request for Production No. 42: Produce, or identify by bates numbers if already produced, all

   leases You have issued under 25 C.F.R. Part 214 terms defining compensation for the OMC

   identical or substantially similar to the compensation terms of any surface leases issued to the

   same lease applicant for the same geographic area.

   Response to Request for Production No. 42: The OMC refers Osage Wind to the OMC’s

   Response to Interrogatory No. 21.

   Request for Production No. 43: Produce, or identify by bates numbers if already produced, all

   leases You have issued under 25 C.F.R. Part 214 lease terms defining compensation for the

   OMC were not based on the value or volume of minerals mined and sold.

   Response to Request for Production No. 43: The OMC refers Osage Wind to the OMC’s

   Response to Interrogatory No. 20.
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   Request for Production No. 44: Produce, or identify by bates numbers if already produced, all

   correspondence between the United States Attorney’s Office for the Northern District of

   Oklahoma and/or the Bureau of Indian Affairs and/or the Osage Nation, on the one hand, and the

   OMC, on the other, between September 30, 2015 and November 30, 2015 regarding the decision

   by plaintiff the United States not to appeal the Opinion and Order and Judgment entered

   September 30, 2015 (Dkt. # 44 and 45).

   Response to Request for Production No. 44: The OMC refers Osage Wind to the OMC’s

   Response to Interrogatory No. 22.



                                                      Respectfully submitted,


                                                      /s/ Mary Kathryn Nagle
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                                                      Wilson Pipestem, OBA No. 16877
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                                                      Osage Minerals Council
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                                   CERTIFICATE OF SERVICE

           I hereby certify that on July 28, 2021, a true and correct copy of the foregoing was emailed
   to the following:


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    Counsel for Defendants




                                                        /s/ Mary Kathryn Nagle
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                                           VERIFICATION

             I, Everett Waller, am Chairman of the Osage Minerals Council. Pursuant to 28 U.S.C. §

   1746, I verify under penalty of perjury that I have knowledge regarding the above-styled action,

   that I have read the above Responses and Objections to Osage Wind, LLC’s Second Interrogatories

   and Requests for Admission, that I know the contents thereof, and, based on a reasonable inquiry,

   that the foregoing answers are true and correct to the best of my knowledge, information, and

   belief.


   Executed on July 28, 2021.


                                                       _____________________
                                                       Everett Waller
                                                       Chairman, Osage Minerals Council
